    Case 23-11907-ABA      Doc 19     Filed 04/11/23 Entered 04/11/23 15:11:22             Desc Main
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                                                                    Order Filed on April 11, 2023
                                                                    by Clerk
                                                                    U.S. Bankruptcy Court
                                                                    District of New Jersey




     In re:                               : UNITED STATES BANKRUPTCY COURT
     2 N. MAIN LLC,                       : DISTRICT OF NEW JERSEY
                                          :
                      Debtor.            : Chapter 7
                                         Case No. 23-11907-ABA
    ___________________________________ :: Hearing Date: April 11, 2023, 10:00


        ORDER GRANTING MOTION RELIEF FROM THE AUTOMATIC STAY
     PURSUANT TO 362(d)(1)BOE(2) FILED ON BEHALF OF PS FUNDING, INC."/%
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         The relief set forth on the following page, numbered two (2), is hereby ORDERED.




DATED: April 11, 2023
 In re 2 N. Main LLC, Chapter 7 Case No. 23-11907-ABA
Case   23-11907-ABA Doc 19 Filed 04/11/23 Entered 04/11/23 15:11:22 Desc Main
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                                 Document       Page 2 of 2
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  Page Two

          THIS MATTER having been opened to the Court by PS Funding, Inc. (“PSF”), by and

through its counsel, upon Motion, Alternatively for Adequate Protection, Relief from the

Automatic Stay, to Prohibit or Condition Use of Cash Collateral, or Dismissal of Case (the

“Motion”),1 and good and sufficient notice of the hearing on the Motion having been provided,

and the Court having considered the moving papers, the opposition thereto, if any, and the oral

arguments of counsel, and, for the reasons set forth on the record, the Court has determined that

good cause exists for the entry of BQPSUJPOthis OrderBTJUQFSUBJOTUPTUBZSFMJFGPOMZ


      IT IS ORDERED, that the Motion is GRANTED */1"35BOE%&/*&%*/1"35


           the NPUJPOJTHSBOUFEBTUPUIFSFRVFTUGPSSFMJFGGSPNUIFautomatic stay BOEUIF

BVUPNBUJDTUBZis hereby lifted to permit PSF to enforce its rights and remedies against the

Debtor and its real property located at 2 N. Main St., Pleasantville, NJ 08232 (Block No. 103,

Lot No. 1), arising under its loan documents and applicable state law, including, without

limitation, continuing with execution on its Foreclosure Judgment and Money Judgment, and

applying any Sheriff’s Sale or other proceeds to the Loan


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1
    Defined terms appearing herein shall have the meaning ascribed to them in the Motion.
